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                              EXHIBIT BB


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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Is it too much, too little, or just right? How are we defining success? Could we do this better? The
only way to answer such questions is to gather more information about who is in our jails—why they
are there, and for how long—and whether current pretrial practices produce the intended results:
court appearance and public safety.




PRETRIAL JUSTICE:
 HOW MUCH DOES
    IT COST?
In nearly every jurisdiction, for nearly every criminal offense, courts require people to pay money to
be released from jail before their trial. In recent years, many—from local city councils to the White
House1 —have begun to question this practice, for both its inequities and its negative effect on public
safety. But there is also the matter of financial costs. Money bond systems create unnecessarily
high pretrial (and post-adjudication) incarceration rates that weigh down justice system budgets.
Each day someone is in jail, the price of his or her food, medical care, and security (excluding fixed
building expenses) may be conservatively estimated at $85 a day. Roughly 450,000 people are
detained before trial on any given day at a daily cost to U.S. taxpayers of more than $38 million.

                                                   This brief summarizes what researchers and prac-
                                                   titioners have learned as of January 2017 about the
                                                   costs of the current system compared to legal and
The Costs of the Money Bail System........2        evidence-based improvements such as moving away
                                                   from money bail, implementing pretrial risk assess-
The Costs of Posting Money Bond............3       ment, providing court reminders, and monitoring or
                                                   supervision.
The Costs of Mass Incarceration..............4

The Cost Savings of Change...................5     The Purposes of Bail
Conclusion...................................6     The decision to detain or release a person after arrest
                                                   is legally straightforward. By law, courts must:
                                                         • maximize public safety,
                                                         • maximize court appearance, and
                                                         • maximize pretrial liberty.




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                                                             Pretrial Justice: How much does it cost?       2


How can courts achieve all three goals at the same time? National standards and research recom-
mend:
   • Ensuring arrested people have a lawyer at their first appearance before the court,
   • Conducting individualized determinations of a person’s risk of flight and to public safety,
   • Applying a hierarchy of release options that result in least restrictive conditions, and
   • Assigning money bond only when no other conditions can reasonably assure court appear-
     ance. (By law, courts may not assign high money bail amounts to keep someone in jail in an
     effort to protect public safety.)2


The Costs of the Money Bond System
Jailing arrested people before trial is the greatest expense generated by current pretrial justice prac-
tice. As noted earlier in this brief, taxpayers spend approximately $38 million per day to jail people
who are awaiting trial (63% of the total jail population, or more than 450,000 individuals on any
given day). Annually, this $14 billion3 is used to detain people who are mostly low risk4, including
                                                           many whose charges will ultimately be
                                                           dropped. By adopting commonsense poli-
                                                           cies that detain only higher risk people, that
                                                           money could pay for a bevy of other needed
                                                           services.

                                                           This is, however, just a portion of the total
                                                           price tag. The collateral costs to justice
                                                           systems, communities, and individuals,
                                                           have been estimated to be as high as $10
                                                           for every $1 in direct costs.5 This suggests
                                                           that the true cost of existing money-based
                                                           pretrial systems is closer to $140 billion per
                                                           year.

                                                           Jail costs vary widely depending on region,
                                                           how long individuals are incarcerated,
                                                           special health or accommodation needs,
                                                           and other factors. For example:

                                                           • It costs about $460 per day to house one
                                                           person in New York City’s Rikers Island
                                                           detention center, or more than $167,0006
                                                           per year—nearly equal to four years’ tuition
                                                           at Princeton University.7 In 2014, 1,427
                                                           people had been detained at Rikers for
                                                           more than one year.8
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                                                                              Pretrial Justice: How much does it cost?                  3


     • It costs three times as much to process                              • It is expensive just to put a person in jail.
     and jail the small percentage of individ-                              Intake costs—for booking, creating records,
     uals who cycle in and out of jail repeatedly                           medical screenings, and uniforms—may
     compared to more typical inmates. These                                exceed $800 and are incurred even if the
     people are generally accused of low-level,                             person is released within the hour.12
     nonviolent offenses stemming from home-
     lessness, substance use and mental health
     issues.9                                                        The Costs of Posting Money
                                                                     Bond
     • It is 60-100% more expensive to jail
     people who have health, mental health, or                       Millions of people manage to pay money bond—
     substance use disorders.10 It is estimated                      at the cost of neglecting other critical expenses
     that two-thirds of people in jail suffer from                   and draining their communities of billions of
     these problems.11                                               dollars every year. A recent study in Mary-



                                 Saving Money—Not a Fairy Tale
  Alan* earns the median annual income in Baltimore: $26,164. He is arrested and assessed
  as “medium risk” for having failed to appear in court on previous charges. This means that,
  statistically, Alan has an 87% likelihood of coming back to court and staying arrest-free
  before trial. Alan’s bond is set at $50,000, slightly above average for medium-risk defendants
  in Baltimore.† To pay a bail bondsman’s ten percent fee would cost Alan more than two
  months’ salary—and he isn’t working because he’s in jail. So Alan stays in jail for 42 days (the
  average length of stay)‡ before he finally pleads guilty just to get out (privately, he maintains
  his innocence). Alan’s incarceration cost taxpayers at least $5,460.§ He has lost his job and
  his family is facing eviction. Because he spent time in jail, Alan is now statistically more likely to
  engage in crime. Because of his guilty plea, he will have a harder time finding a job.
  If Alan had been released without money bond, community supervision costs to taxpayers would
  have been $105. He could have kept his job, kept his apartment, and cared for his family
  About 35,000 people are committed to the Baltimore jail every year.¶

* A fictional representation of a common case.
† “Commission to Reform Maryland’s Pretrial System: Final Report,” December 19, 2014. The Governor’s Commission to Reform Mary-
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‡“Public Safety Overview: Presentation to the Legislative Policy Committee,” June 6, 2013, Annapolis, Maryland. Maryland Joint Prison
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                                                                        Pretrial Justice: How much does it cost?     4


                                                                     land found that people arrested in the state
                                                                     from 2011 to 2015 paid combined bail bond
                                                                     premiums of more than $256 million. More
  The Costs of Getting It                                            than $75 million was paid in cases that were
                                                                     dropped or found not guilty. Those people do
         Wrong                                                       not get their money back. This system perpet-
                                                                     uates cycles of poverty for some communities
  A small percentage of people should                                and disproportionately impacts communities
  not be released after arrest because they                          and families of color.13
  pose unmanageable risks to public safety.
  Pretrial practices that rely on money allow                        Take, for example, the case of Demorrea
  these people to buy their way out of jail,                         Tarver, arrested in Baltimore in 2008 and
  sometimes with tragic consequences.                                charged with drug possession. Tarver’s
  Research shows that nearly half of the                             mother paid a bail bondsman a $5,000
                                                                     down payment on the $27,500 non-re-
  most dangerous defendants pay money
                                                                     fundable bond premium (10% of the full
  bond and are released.* Just as it is unnec-                       $275,000 bond amount). All charges were
  essarily costly to incarcerate low-risk                            dropped weeks later, but the Tarvers were
  people who cannot afford money bond,                               still required to pay $300 per month to
  we pay a price for letting high-risk individ-                      the bondsman. When they were unable to
  uals buy their freedom without oversight.                          pay that, the case went to debt collection.
                                                                     Demorrea Tarver currently pays $100 a
  In May 2014, a Colorado state trooper                              month on this debt, which is less than the
  was shot by a man who had been released                            interest that accrues. At this rate he will
  on $75,000 bond for charges including                              NEVER pay off his bail debt.14
  second degree attempted murder and
  assault. The trooper barely survived. The                          The Costs of Mass
  Colorado State Patrol estimates known
  costs in this case—for medical expenses,                           Incarceration
  lost wages, and other related costs—to                             Current pretrial justice systems that result
  exceed $550,000.† The mental and                                   in increased crime, convictions, and incar-
  emotional costs cannot be as easily calcu-                         ceration contribute to mass incarceration—a
  lated.                                                             problem that costs taxpayers as much as
                                                                     $1 trillion annually (almost 6% of the gross
                                                                     domestic product). 15

                                                                     Compared to identical people released before
                                                                     trial, low-risk people held longer than three
                                                                     days are:
                                                                      • Arrested 74% more frequently during the
* “Research Summary: Developing a National Model for Pretrial Risk    pretrial phase and 51% more up to 2 years
  Assessment,” Laura and John Arnold Foundation.                      later;16
                                                 		
† Personal communication with Colorado State Patrol, August 2016.     • 30% more likely to be convicted or plead
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                                                             Pretrial Justice: How much does it cost?       5


 guilty, with resulting sentence lengths 18              • Santa Clara County, California uses a
 months longer;17                                        locally validated pretrial risk assessment
 • Four times more likely to receive a jail              tool that saved $33 million in six months
 sentence and three times more likely to receive         by keeping 1,400 defendants out of jail.21
 a longer jail sentence; and                             Pretrial release costs the county just $15-$25
 • Three times more likely to receive a prison           per day compared to $204 per day for jail.
 sentence and twice as likely to receive a longer        The county maintains a 95% court appear-
 prison sentence.18                                      ance rate and a 99% public safety rate of
                                                         defendants released without supervision.

The Cost Savings of                                   • In Kentucky, 88% of all arrested people
Change                                                           are released and only 3% are given
                                                  A                     extra supervision condi-
It has been estimated that                                                  tions.­22 Kentucky saved
implementing validated,                   recent  study   in                   counties approximately
evidence-based risk                 Maryland found that people                   $25 million in jail
assessment to guide               arrested in the state from 2011                   costs in one year
pretrial release                                                                      by increasing the
                                 to 2015 paid combined bail bond
decisions could                                                                        pretrial release
yield $78 billion             premiums of more than $256 million.                      rate by 5%,
in savings and              More than $75 million was paid in cases                    resulting in
benefits, nation-            that were dropped or found not guilty.                    nearly 11,000
ally.19 The cost                                                                       additional people
savings presented
                              Those people do not get their money
                                                                                       released pretrial.
below focus on two            back. This system perpetuates cycles                    Supervision costs
common strategies:               of poverty for some communities                     in Kentucky are
replacing bond sched-             and disproportionately impacts                   2%-10%    of detention
ules with pretrial risk                                                         costs.23
assessment and using                   communities and fami-
non-financial conditions of                 lies of color.                • In San Francisco,
release, such as court reminders,                                    a cost-benefit analysis of
monitoring and supervision, and unse-                        expanding pretrial diversion projected
cured bonds (in which individuals pay money            a drop in jail usage leading to savings of at
only if they fail to appear in court.)                 least $3 million per year.24

   • An analysis using the Pretrial Cost-Ben-            • A cost analysis by the sheriff’s office in
   efit Model developed by economists found              Broward County, Florida estimated the
   Denver, Colorado could avoid nearly $6                county could save more than $125 million
   million in costs and also reduce crime by             annually by diverting 30% of arrested people
   using a risk-based system and setting release         from jail using programs already in place.
   goals by risk level (e.g., release 65% of Level       The study also found the average cost of
   1 defendants within 24 hours and 25% more             pretrial detention to be more than 15 times
   within two to seven days).20                          the cost of day reporting and nearly 75 times
                                                         the cost of pretrial supervision.25
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                                                         Pretrial Justice: How much does it cost?      6



   • A study of Harris County, Texas calcu-
   lated that if all misdemeanor defendants                   The Truth About DC’s
   between 2008 and 2013 assigned money                           Pretrial Costs
   bond of $500 had been released without
   financial conditions there would have               The District of Columbia’s Pretrial Services
   been                                                Agency (PSA) produces excellent results
      ◦ 40,000 more people released                    without relying on money bond. However,
        pretrial;                                      critics often decry its sizeable budget. Because
      ◦ 5,900 avoided criminal convictions             PSA is an independent federal agency it carries
        (mainly from a drop in wrongful                costs that other local agencies don’t have.
        guilty pleas);                                 Salaries and benefits are set for employees at
      ◦ 400,000 fewer jail bed-days used 26;           the federal rate, which typically exceeds state
      ◦ 1,600 fewer felonies and 2,400 fewer           and local employee pay. PSA performs full
         misdemeanors committed by people              human resources and administrative functions
         within 18 months of their release;            in-house; most other pretrial services agencies
         and                                           rely on city, county, or state offices for these
      ◦ $20 million in saved supervision               duties. PSA also has its own drug specimen
        costs.27                                       collection and testing laboratory—which other
                                                       jurisdictions outsource to other agencies. When
   • The District of Columbia releases                 these costs are accounted for, DC’s $29.4
   roughly 88% of arrested people and                  million pretrial budget is modest and compa-
   supervises about 70% of those released at           rable to other jurisdictions.
   an average cost of $18 per day per indi-
   vidual. DC’s jail operates at 60% below
   capacity, with pretrial cases accounting
   for only 12% of the jail population
   (compared to 63% nationally).28 The District has consistently high court appearance rates and
   low pretrial arrest rates. [See sidebar for more on DC’s pretrial costs.]


Conclusion
Costs and cost savings are of great concern to people interested in creating pretrial justice systems
that are safer and more effective. The evidence shows that current pretrial practices—especially
those that use money bail and over-use jail beds for lower risk people—are needlessly expensive and
doesn’t produce positive results. On the other hand, legal and evidence-based improvements save
money and produce more desirable outcomes for systems and the people they serve.


  To learn more about pretrial systems and their costs, please visit any of the following resources:
                           Pretrial Justice Institute (www.pretrial.org)
                          University of Pretrial (university.pretrial.org)
            Dr. Michael Wilson, MW Consulting (www.m-w-consulting.org/projects)
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